Case 23-12825-MBK            Doc 1138       Filed 08/01/23 Entered 08/01/23 09:54:31                     Desc Main
                                          Document      Page 1 of 2




     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
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                                                            Chapter 11
     In re:
     LTL MANAGEMENT, LLC,1                                  Case No.: 23-12825 (MBK)

                             Debtor.                        Honorable Michael B. Kaplan

 1
         The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
 501 George Street, New Brunswick, New Jersey 08933.
Case 23-12825-MBK         Doc 1138     Filed 08/01/23 Entered 08/01/23 09:54:31           Desc Main
                                     Document      Page 2 of 2




    MODIFIED LOCAL FORM CERTIFICATION OF NO OBJECTION REGARDING
    MONTHLY FEE STATEMENT FOR GENOVA BURNS LLC, LOCAL COUNSEL
     TO OFFICIAL COMMITTEE OF TALC CLAIMANTS FOR THE PERIOD OF
                     JUNE 2023 DOCUMENT NO. 1043


          The Court authorized, under D.N.J. LBR 2016-3(a), the Order Establishing Procedures for

 Interim Compensation and Reimbursement of Retained Professionals [Dkt. No. 562],

 compensation to professionals on a monthly basis. Under said Order, objections to the Monthly

 Fee Statement filed on July 17, 2023 were to be filed and served not later than July 31, 2023.

          I, Daniel M. Stolz, Esq. certify that, as of August 1, 2023, I have reviewed the court’s

 docket in this case and no answer, objection, or other responsive pleading to the above Monthly

 Fee Statement has been filed. Pursuant to D.N.J. LBR 2016-3, payment shall be made to the

 applicant upon the filing of this Certification.



 Date: August 1, 2023                                  /s/ Daniel M. Stolz
                                                      DANIEL M. STOLZ




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